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   visiting Marist           Village block            creep who                takes frustration   struck by NYC     school spending
   student for…              held hostage b…          sexually…                out on diners …     subway train a…   to $34 billion,…




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  Stabbings and slashings surge on Rikers Island
  By Griffin Kelly
  May 14, 2022         2:22pm       Updated




  Experts say the gory onslaught is the result of violent felons making up the bulk of inmates at Rikers these days.
  J.C. Rice



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        New images shed more light on stomach-turning conditions at Rikers Island


        Rikers inmate who jumped into NYC river dies: attorney


        Two NYC correction officers admit to smuggling in drugs for bribes



  It’s a bloodbath on Rikers Island.

  In 2021, the complex saw 419 total slashings and stabbings of inmates and corrections
  officers — a 1,097 percent increase from 2011 — according to figures shared during a public
  Department of Corrections meeting earlier this week. In that same time, the inmate
  population dropped by more than half, from 12,419 to 5,563.

  This year is on course to be even bloodier, data show.

  By the end of April, 191 stabbings were recorded, according to Board of Corrections member
  Julio Medina. That’s on pace for 575 for the year, a 37 percent increase from 2021.

  Some of these vicious attacks include a Bloods gang member who was slashed in the face
  with a large kitchen knife at the start of April, and a corrections officer who nearly lost his eye
  and ended up with eight stitches while breaking up a fight in March.

  Experts say the gory onslaught is the result of violent felons making up the bulk of inmates at
  Rikers these days, as bail reform has kept low-level criminals out.




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   visiting Marist           Village block            creep who                takes frustration   struck by NYC     school spending
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  A corrections officer is seen after being slashed in the face at Rikers.

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  “There is no doubt that the persons now detained are, proportionally, a more concentrated
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  group of serious and dangerous offenders,” former DOC Commissioner Martin Horn told The
  Post. “The less serious offenders are today more likely not to be jailed.”
  Innocent dad             Greenwich        Cops looking for                 Rebuffed beggar    Woman fatally       NY boosts
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  alarming rise in stabbings and slashings to the jail’s long running staffing crisis.

  “We did the numbers from January to April, and we’ve already lost 400 officers due to
  resignations and retirements. In the same period, only 75 recruits graduated from the
  academy,” he said. “We need bodies to be able to make everyone safe in our jails.”




  One inmate fashioned a knife out of plexiglass, with handles made from ripped cloth.

  Rikers has gained notoriety recently for crammed cells, absentee officers and deteriorating
  infrastructure, including broken plexiglass, metal bed frames and heating coils.

  Images provided by a corrections source show chunks of plexiglass an inmate had chiseled
  into a dull but deadly knife, with handles fashioned from ripped cloth and pages of a
  newspaper. Another image shows an officer with a blade jutting out of her hand after
  intervening in a gang fight.

  Boscio blamed the de Blasio administration and his DOC commissioners for mishandling
  Rikers and cutting back on weapon searches.



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  Corrections Officers’ Benevolent Association President Benny Boscio Jr. attributed the alarming rise in stabbings and
  slashings to the jail’s long running staffing crisis.


  “It was eight years of neglect,” he said. “The prior administration was so concerned about
  use of force that they thought putting all the same gang members in the same housing areas
  would stop inmate-on-inmate violence, but it didn’t. Now they were just struggling for power.
  It created armies.”

  Current DOC Commissioner Louis Molina shared the same sentiment.

  “The ineffective decisions of prior leaders of this city and this agency have crippled the
  Department’s ability to effectively operate and it has resulted in tragedies for officers and
  people in custody alike,” he said.

  Manhattan federal prosecutors recently threatened to seek federal monitoring for Rikers
  Island if the DOC doesn’t curb violence, correct staffing issues and fix living conditions.


                              NYPD POLICE RIKERS ISLAND STABBINGS
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